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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


     JOHN PAUL DURBIN,

                            Plaintiff,

                    v.
                                                               Civil Action No. 22-3222(CRC)
     KEVIN OWEN MCCARTHY
     Speaker of the House of Representatives, et al.,

                            Defendants. 1


                              DEFENDANTS’ MOTION TO DISMISS

          Defendants respectfully move to dismiss this action under Federal Rule of Civil Procedure

(“Rule”) 12(b)(1). In support of this motion, Defendants submit the attached memorandum of

points and authorities, two exhibits, and a proposed order.

    Respectfully submitted,

    MATTHEW M. GRAVES, D.C. Bar #481052                 By: /s/ Stephen DeGenaro
    United States Attorney                                 STEPHEN DEGENARO
                                                           D.C. Bar #1047116
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    February 27, 2023


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         Although not entirely clear, the undersigned understands that Defendants are sued in their
official capacities, and thus, the current Speaker of House is substituted as his predecessor. To the
extent the Complaint asserts individual capacity claims, the undersigned do not represent any
Defendant in their individual capacity. Should the Court deem the Complaint to include such
claims, it should so clarify and permit any individual capacity Defendants to respond to the
Complaint by a date certain, affording them an opportunity to seek and obtain representation.
Defendants do not hereby waive any defense or defenses that may be available to any individual
capacity defendants under Rule 12 or otherwise, including, but not limited to, insufficient or
untimely service of process, lack of jurisdiction, and immunity from suit.
